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 Fill in this information to identify your case

 UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO
 Debtor 1:      PetroShare Corp., et al.                        Case #:     19-17633-KHT
                Name


                                                                Chapter:    11


Local Bankruptcy Form 9070-1.1
List of Witnesses and Exhibits


The Official Committee of Unsecured Creditors hereby designates the following witnesses and exhibits for the hearing
or trial set for October 2, 2019, at 11:00 a.m. and 1:30 p.m. at the U.S. Bankruptcy Court, U.S. Custom House, 721 19th
Street, Courtroom D, Fifth Floor, Denver, Colorado 80202.

 Part 1 Witnesses

Party will call the following witnesses:

                          Witness name                                             Nature of testimony




Party may call the following witnesses:

                          Witness name                                             Nature of testimony
 John Baumgartner, Stout Risius Ross                            Mr. Baumgartner may testify regarding cash collateral and
                                                                budget matters; Mr. Baumgartner may also testify in
                                                                respect of certain retention applications.
 Any witness listed or called by any party


 Part 2 Exhibits

   Exhibit                  Description               Offered   Admitted                 Additional comments
   number                                            (Yes/No)   (Yes/No)            (electronic, video, paper, etc.)
     A           Proposed Second Interim Cash
                 Collateral Budget (to be filed)
       B         Proposed First Interim Cash
                 Collateral Budget [Dkt. No. 27-1]
       C         First Interim Cash Collateral
                 Order [Dkt. No. 73]
       D         First Day Declaration of Drew
                 McManigle [Dkt. No. 29-1]
       E         Gordian Engagement Agreement
                 dated September 4, 2019 [Dkt.
                 No. 45-2]


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                 Any exhibit offered or listed by
                 another party
                 Any exhibit for purposes of
                 rebuttal or impeachment




 Part 3 Signature



Dated: September 27, 2019                           Norton Rose Fulbright US LLP


                                                    /s/ Jason L. Boland________
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                                                    Houston, Texas 77010-3095
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                                                    -and-

                                                    Ryan E. Manns (SBT 24041391)
                                                    2200 Ross Avenue, Suite 3600
                                                    Dallas, Texas 75201
                                                    Telephone: (214) 855-8304
                                                    Facsimile: (214) 855-8200
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                                                    Proposed Counsel to the Official Committee of
                                                    Unsecured Creditors




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